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                                                                                       EXHIBIT 2
                                     Kristen Schlemmer <kristen@bayoucitywaterkeeper.org>


Bayou City Waterkeepers v City of Houston - Stay of Discovery
Kristen Schlemmer <kristen@bayoucitywaterkeeper.org>         Fri, Jan 31, 2020 at 1:38 PM
To: David George <DGeorge@bakerwotring.com>
Cc: "dof@lf-lawfirm.com" <dof@lf-lawfirm.com>, "lauren@lf-lawfirm.com" <lauren@lf-
lawfirm.com>, "eallmon@lf-lawfirm.com" <eallmon@lf-lawfirm.com>, Debra Baker
<DBaker@bakerwotring.com>

 Since we can't agree that the stay should lift when the settlement is final and haven't
 heard any reason why it shouldn't lift then, we're opposed. Thanks.

                           Kristen Schlemmer
                           Legal Director
                           Bayou City Waterkeeper
                           she / her / hers
                           713-714-8442 | 512-619-1583




 On Fri, Jan 31, 2020 at 11:36 AM David George <DGeorge@bakerwotring.com> wrote:
   I have made revisions to your proposed order. We would like to keep the stay un l April 30, 2020. We
   don't want the provision requiring the City to no fy the Court within 3 days. BCW has intervened in the
   United States' lawsuit, so it will receive no ce of any orders or ﬁlings.

   Please let me know if you're okay with these changes. Otherwise, we will mark BCW as opposed and ﬁle
   the mo on with the a ached proposed order.

   David George
   Baker · Wotring LLP
   700 JPMorgan Chase Tower
   600 Travis Street
   Houston, TX 77002
   713.980.6513 Direct
   713.857.2280 Cell
   713.980.1700 Main
   713.980.1701 Fax
   dgeorge@bakerwotring.com
   www.bakerwotring.com
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Texas Board of Legal Specialization

From: Kristen Schlemmer <kristen@bayoucitywaterkeeper.org>
Sent: Friday, January 31, 2020 10:45 AM
To: David George <DGeorge@BakerWotring.com>
Cc: dof@lf-lawfirm.com <dof@lf-lawfirm.com>; lauren@lf-lawfirm.com <lauren@lf-lawfirm.com>;
eallmon@lf-lawfirm.com <eallmon@lf-lawfirm.com>; Debra Baker <DBaker@BakerWotring.com>
Subject: Re: Bayou City Waterkeepers v City of Houston - Stay of Discovery

David, I did not send you our final draft of the proposed order. We do not give consent
based on the last proposed order. The language on the attached order has our
approval. Thanks.

                          Kristen Schlemmer
                          Legal Director
                          Bayou City Waterkeeper
                          she / her / hers
                          713-714-8442 | 512-619-1583




On Fri, Jan 31, 2020 at 10:30 AM Kristen Schlemmer <kristen@bayoucitywaterkeeper.
org> wrote:
  After incorporating these edits to the proposed order, you can mark us as
  unopposed. Thanks.

                             Kristen Schlemmer
                             Legal Director
                             Bayou City Waterkeeper
                             she / her / hers
                             713-714-8442 | 512-619-1583
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On Fri, Jan 31, 2020 at 9:58 AM David George <DGeorge@bakerwotring.com>
wrote:


  David George
  Baker · Wotring LLP
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  Houston, TX 77002
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  713.980.1700 Main
  713.980.1701 Fax
  dgeorge@bakerwotring.com
  www.bakerwotring.com

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  Texas Board of Legal Specialization

  From: Kristen Schlemmer <kristen@bayoucitywaterkeeper.org>
  Sent: Friday, January 31, 2020 9:47 AM
  To: David George <DGeorge@BakerWotring.com>
  Cc: dof@lf-lawfirm.com <dof@lf-lawfirm.com>; lauren@lf-lawfirm.com <lauren@lf-lawfirm.com>;
  eallmon@lf-lawfirm.com <eallmon@lf-lawfirm.com>; Debra Baker <DBaker@BakerWotring.com>
  Subject: Re: Bayou City Waterkeepers v City of Houston - Stay of Discovery

  Could you send the proposed order, too? Also, yesterday you asked for 60 days -
  could you let me know why you need more time than that? Feel free to call if that's
  quicker. I'm on my cell - 512-619-1583.

  Thanks!


                            Kristen Schlemmer
                            Legal Director
                            Bayou City Waterkeeper
                            she / her / hers
                            713-714-8442 | 512-619-1583
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On Fri, Jan 31, 2020 at 8:09 AM David George <DGeorge@bakerwotring.com>
wrote:
  The dra mo on to stay is a ached. It requests a 3-month extension, which is the same period
  as before.

  Please let me know if I can put BCW down as unopposed.

  Thanks!

  David George
  Baker · Wotring LLP
  700 JPMorgan Chase Tower
  600 Travis Street
  Houston, TX 77002
  713.980.6513 Direct
  713.857.2280 Cell
  713.980.1700 Main
  713.980.1701 Fax
  dgeorge@bakerwotring.com
  www.bakerwotring.com

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  Texas Board of Legal Specialization

  From: Kristen Schlemmer <kristen@bayoucitywaterkeeper.org>
  Sent: Thursday, January 30, 2020 3:57 PM
  To: David George <DGeorge@BakerWotring.com>
  Cc: dof@lf-lawfirm.com <dof@lf-lawfirm.com>; lauren@lf-lawfirm.com <lauren@lf-lawfirm.com>;
  eallmon@lf-lawfirm.com <eallmon@lf-lawfirm.com>; Debra Baker <DBaker@BakerWotring.com>
  Subject: Re: Bayou City Waterkeepers v City of Houston - Stay of Discovery

  Please send the draft order for our review. Thanks.

                            Kristen Schlemmer
                            Legal Director
                            Bayou City Waterkeeper
                            she / her / hers
                            713-714-8442 | 512-619-1583
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On Thu, Jan 30, 2020 at 11:49 AM David George
<DGeorge@bakerwotring.com> wrote:

  It will be similar to the last one we ﬁled.

  Can I put you down as unopposed?




  From: Kristen Schlemmer [mailto:kristen@bayoucitywaterkeeper.org]
  Sent: Thursday, January 30, 2020 11:46 AM
  To: David George <DGeorge@BakerWotring.com>
  Cc: dof@lf-lawfirm.com; lauren@lf-lawfirm.com; eallmon@lf-lawfirm.com; Debra Baker
  <DBaker@BakerWotring.com>
  Subject: Re: Bayou City Waterkeepers v City of Houston - Stay of Discovery




  David, could you send a draft of the motion and proposed order? I don't
  anticipate having any major changes, but I'd still like to have the opportunity
  to give feedback as needed.



  Thanks.




                                 Kristen Schlemmer
                                 Legal Director
                                 Bayou City Waterkeeper
                                 she / her / hers
                                 713-714-8442 | 512-619-1583
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  On Thu, Jan 30, 2020 at 8:39 AM David George
  <DGeorge@bakerwotring.com> wrote:

    The discovery stay is about to expire. The United States and Texas are s ll
    comple ng their review of the comments to the se lement.


    The City plans to ﬁle a mo on to extend the stay another 60 days. I wanted to see
    if you agreed to that mo on.



    Thanks.



    David George

    Baker · Wotring LLP
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    Houston, TX 77002
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    713.857.2280 Cell
    713.980.1700 Main
    713.980.1701 Fax
    dgeorge@bakerwotring.com
    www.bakerwotring.com

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    Texas Board of Legal Specialization
